                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE

DAVID DELL'AQUILA, LORANNDA
BORJA, TODD CHESNEY, and BRENT                        Case No. 3:19-cv-00679
WEBER, on behalf of themselves and all
others similarly situated,
                                                      Judge William L. Campbell, Jr.
                       Plaintiffs,
v.                                                    Magistrate Jefferey S. Frensley

WAYNE LaPIERRE, the NATIONAL
RIFLE ASSOCIATION OF AMERICA,
and NRA FOUNDATION, INC.,

                       Defendants.


                     PLAINTIFFS' RESPONSE IN OPPOSITION
                TO DEFENDANTS' MOTIONS TO DISMISS COMPLAINT

       The Plaintiffs, David Dell'Aquila, Lorannda Borja, Todd Chesney and Brent Weber, by

and through counsel, file this Response in opposition to the Defendants' motions to dismiss the

complaint. In support hereof, the Plaintiff states as follows:

                                             Response

       1.      The Plaintiffs oppose Defendants' motions to dismiss for the reasons set forth in

their accompanying memorandum of law.

       2.      As explained in such brief, Plaintiffs have standing to assert these claims.

       3.      This matter is governed by New York law because the NRA is incorporated in

New York State. See First Nat'l City Bank v. Banco Para El Comercio Exterior de Cuba, 462

U.S. 611, 621, 103 S.Ct. 2591, 77 L.Ed.2d 46 (1983) (claims that involve the internal affairs of a

corporation should be resolved in accordance with the law of the state of incorporation).

       4.      There is a line of cases in New York State which says that a donor has standing to

sue a not-for-profit corporation for charity fraud.




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       5.      Plaintiffs have stated valid claims against Defendants for common law fraud and

violation of the federal RICO statute.

       6.      Plaintiffs have alleged all of the required elements of fraud and violation of the

RICO statute. In addition, they have done so with a great deal of specificity. It is therefore

proper for the Court to deny Defendants' motions to dismiss.

       WHEREFORE, for the reasons stated above, the Plaintiffs respectfully request that this

Honorable Court enter an order denying Defendants' motions to dismiss.

                                                    Respectfully submitted,

                                                    By: /s/ Elliott Schuchardt
                                                       Elliott J. Schuchardt
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                              CERTIFICATE OF SERVICE
       I, Elliott J. Schuchardt, hereby certify that I served a true and correct copy of the

foregoing Plaintiffs' Response in Opposition to Defendants' Motions to Dismiss Complaint on

the following persons on this 4th day of March 2020 by means of the Court's CM / ECF system:

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                                                         /s/ Elliott Schuchardt
                                                         Elliott J. Schuchardt




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